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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

   UNITED STATES OF AMERICA                  )
                                             ) Case:       4:19-CR-117
                                Plaintiff(s) )
                   v.                        )
                                             ) Judge:      Billy Roy Wilson
          Jahoney Milik Russell              )
         _________________________ )
                             Defendant(s) )


                                  NOTICE OF APPEARANCE

       Please take notice that Christopher Baker of the James Law Firm will be aiding as counsel in

the representation of Jahoney Milik Russell in the case captioned above and requests that they be

included on the service of all notices, pleadings, and other documents filed in this case. Christopher

Baker is admitted or otherwise authorized to practice in this court.

 Dated: July 17, 2023                               Respectfully submitted,

                                                    /s/ Christopher Baker

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